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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :
                                             :
               v.                            :
                                             :      Case No.: 23-mj-00020 (ZMF)
JOSEPH PAVLIK,                               :
                                             :
                                             :
                         Defendant.          :


                                 NOTICE OF APPEARANCE

       The United States, by and through its attorney, the United States Attorney for the District

of Columbia, hereby informs the Court that Assistant United States Attorney Holly F. Grosshans

is entering her appearance in the above-captioned matter as counsel for the United States.


                                             Respectfully submitted,


DATED: February 13, 2023                     MATTHEW M. GRAVES
                                             UNITED STATES ATTORNEY
                                             D.C. Bar No. 481052


                                      By:    /s/ Holly F. Grosshans
                                             HOLLY F. GROSSHANS
                                             Assistant United States Attorney
                                             D.C. Bar No. 90000361
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                                             Email: Holly.Grosshans@usdoj.gov
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                               CERTIFICATE OF SERVICE

        On this 13th day of February, 2023, a copy of the foregoing was served upon all parties
listed on the Electronic Case Filing (ECF) System.

                                                   /s/ Holly F. Grosshans
                                                   HOLLY F. GROSSHANS
                                                   Assistant United States Attorney
